Case 1:02-Cv-01111-.]P|\/|-egb Document 401 Filed 09/01/05 Page 1 of 4 Page|D 2681

IN THE U'NITED STATES DISTRICT COURT F"'ED By "“' D-c-

 

FoR THE wEsTERN DISTRICT oF TENNESSEHSS
WEsTERN DIvIsIoN EP`¢ H 3=58
Trk'li¢if-`s> M. ii mm
PHILLIP E. BoYNToN, et al., GEE%%§?FWWTGIHT
il ]?*_ ;""11~11_1;3

 

Plaintiffs,
v. No. 02-1111 Ml/An

HEADWATERS, INc., et al.,

vvvvvvvv~

Defendants.

 

 

ORDER FOLLOWING PRETRIAL CONFERENCE

 

Per the Court’s September l, 2005, pre-trial conference, the
Court hereby issues the following rulings:

The Petition for Writ of Habeas Corpus ad Testificandum by
Defendant Davidson, filed August 30, 2005, is GRANTED. Counsel
will revise the writ and submit the final writ to the prison upon
the Court's acceptance.

Plaintiffs’ Motion for Continuance filed August 30, 2005, is
GRANTED in part and DENIED in part. The trial will begin on
Wednesday, September 7, 2005, with jury selection to begin at 9:30
a.m. Opening statements will be heard On Thursday, September 8,
2005.

Opening statements will be limited to 45 minutes for
Plaintiffs,r 30 minutes for Defendant Davidson, and l_ hour for

Defendant Headwaters.

_l_

Tmsdocwnentenmrsdonthsdocketshet'nc mpHance
With Fiule 56 and/or 79(aj FHCP on al 2_~10€

Case 1:02-Cv-01111-.]P|\/|-egb Document 401 Filed 09/01/05 Page 2 of 4 Page|D 2682

Defendant Davidson's Motion in Limine Relating to his Personal
Appearance at Trial, filed August 30, 2005, is GRANTED.

The Court will review Defendants' proposed Jury Questionnaire
and will submit to the parties no later than September 2, 2005 at
12:00 p.m. The parties will submit any objections to the
questionnaire promptly by Tuesday, September 6, 2005 at 9:00 a.m.

Plaintiffs’ Motion for Admissicn Pro Hac Vice of Guy Nicholson
filed August 29, 2005, is DENIED as moot.

Defendant Headwaters' Motion (l) for Bifurcation of the
Punitive Damages Claim; and (2) in Limine to Exclude any Evidence
of or Reference to Headwaters’ Financial Condition or Net Worth,
filed August 26, 2005, is GRANTED. Plaintiffs’ claim for punitive
damages is bifurcated into separate liability and damages phases.
Plaintiffs are precluded from offering evidence of or referencing
Headwaters’ net worth during the liability phase of the trial.

Other pending matters in this cause are reserved for final

determination at the start of the trial.

So ORDERED this l day of September, 2005.

902ch

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

UNDITE STATES DISTRCTI CRTOU - WESTNERDISTCTRI oFTNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 401 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

David R. Wright

WORKMAN NYDEGGER & SEELEY
100 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

EdWin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. Box 3897

Jackson7 TN 38303--389

Charles J. Veverka

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Joseph G Pia

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Greg Oakley

SMALL SOPER & OAKLEY
One Burton Hills Blvd.

Ste. 330

Nashville, TN 37215

Guy C. Nicholson
TISDALE & NICHOLSON
2029 Century Park East

Ste 900

Los Angeles7 CA 90067

Case 1:02-cv-01111-.]P|\/|-egb Document 401

Brent P. Lorimer
WORKMAN NYDEGGER
1000 Eagle Gate ToWer

60 East South Temple

Salt Lake City7 UT 841 11

Larry R. Laycock

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Jeffrey A. Greene

One Burton Hills Blvd
Ste 330

Nashville, TN 37215

R. Parrish Freeman

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Brian L. Davis

LAW OFFICE OF BRIAN DAVIS
919 Ferncliff Cove

Suite 1

Southaven, MS 38671

Honorable J on McCalla
US DISTRICT COURT

Filed 09/01/05 Page 4 of 4 Page|D 2684

